867 F.2d 610Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Van Prince WELCH, Plaintiff--Appellant,v.Officer MARSHALL;  J.H. Snodgrass;  J.A. Smith, Defendants--Appellees.
    No. 88-7305.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 9, 1988.Decided:  Jan. 17, 1989.
    
      Before MURNAGHAN, SPROUSE and WILKINS, Circuit Judges.
      Van Prince Welch, appellant pro se.
      PER CURIAM:
    
    
      1
      Van Prince Welch appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we affirm the district court's order.  We dispense with oral argument because the dispositive issue recently has been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    